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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )       INDICTMENT NO. 4:21-CR -0111
                                             )
RAPHAEL SAMUEL SMITH, et. al.                )
    Defendant.                               )

DEFENDANT’S PRELIMINARY MOTION TO SUPPRESS SEARCH WARRANT AND
                       OTHER EVIDENCE

COMES NOW the Defendant, Raphael Smith (hereinafter “Smith”), by and through undersigned

counsel, and pursuant to Fed. Crim. R 12(b)(3)(c) and the Fourth, Fifth, and Fourteenth

Amendments to the United States Constitution and hereby moves this Court for an evidentiary

hearing, and an order suppressing all evidence of any kind – any physical evidence, alleged

contraband, statements, identification, and testimony allegedly seized by law enforcement

officers on or about June 10th, 2020.

       As grounds therefore, Smith alleges that the search of his home and the seizure of items

from it were improper, illegal, and without probable cause, in violation of Defendant’s rights

under the Fourth, Fifth, and Fourteenth Amendments to the United States Constitution, in the

following particulars:

                                             I. Facts

       1. In late 2019, the Chatham-Savannah Counter Narcotics Team (CNT) began an

          investigation of alleged sources of narcotics supply that included Pen Register Trap

          and Trace (PRTT) orders signed by Hon. Louisa Abbot of the Superior Court of

          Chatham County on co-defendants Eric L. Brown and Vernest Cleveland, among




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   others. Eventually, the investigation widened to include wiretaps of co-defendants

   Marquis Thomas and Japheth Orr.

2. Prior to June 10th, 2020, Raphael Smith was not known by law enforcement to be part

   of any current scheme to supply narcotics in Chatham County, and his name, number,

   or other identifying information didn’t surface in monitored calls made by the co-

   defendants mentioned above.

3. At approximately 5:46 p.m., individual law enforcement officers of the CNT entered

   the premises belonging to Smith at 5611 LaRoche without a warrant, and forced Smith

   to get on the ground, handcuffed him, and detained him while searching around his

   property, including inside his vehicles, homes, and out-buildings.

4. Dogs were brought on the property to conduct open air sniffs on vehicles parked on the

   premises.

5. While handcuffed and not allowed to leave, Smith gave a statement, prior to law

   enforcement obtaining a warrant to search his property. He was kept there without

   being able to leave for three hours before there was a warrant.

6. Several hours later, at 8:44 p.m., at the request of Agent James Boger of the CNT,

   Judge Michael H. Barker of the Magistrate Court of Chatham County, State of

   Georgia, issued a Search Warrant #20-MS-001015 for the premises of 5611 LaRoche

   Ave., including several vehicles, telephones, electronic storage devices, paperwork,

   packaging materials, contraband and U.S. currency.

7. Subsequently the warrant was executed on the premises described above by members

   of the CNT.




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8. Items alleged to be contraband, as well as several firearms, and U.S. currency were

   seized from the home and vehicles. Smith believes that said contraband, currency and

   firearms will be used against him at trial.

9. The detention of Smith and search of his property prior to the issuance of the search

   warrant was conducted illegally and without probable cause.

10. The search warrant was defective in the following particulars:

       1) The warrant was not supported by probable cause.

       2) The warrants were facially defective in that they were unconstitutionally over-

          broad and non-particularized. The affidavit/warrant failed to describe with

          particularity what items could be seized from the target location and further

          failed to limit the search and seizure of items to any particular time frame.

11. For the reasons stated herein, this Court should find the detention of Smith was illegal

   and lacked probable cause, any statements given by him were involuntary, and the

   warrants were invalid on their face and suppress the improperly obtained evidence

   from trial. Further, because the warrants were not supported by probable cause, failed

   to describe with particularity the items to be seized, and provided no nexus of illegal

   activity, the warrant was defective. All evidence seized, and any evidence obtained as

   a result, should be suppressed.

                    II. Grounds for Suppression of Evidence

12. Warrantless searches, unapproved by any magistrate or judge, “are per se

   unreasonable under the Fourth Amendment – subject to only a few specifically

   established and well-delineated exceptions.” Katz v. United States, 389 U.S. 347

   (1967). One exception to this rule is when there exists exigent circumstances for law



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   enforcement to reasonably believe that evidence might be destroyed or removed

   before a warrant can be secured. Kentucky v. King, 563 U.S. 452 (2011). The

   warrantless entry of law enforcement onto Smith’s property was done without the

   presence of any exigent circumstances to justify it. They observed no illegal conduct

   of Smith’s and they had nothing but a mere suspicion to suggest that his premises

   contained any evidence or contraband, much less that someone was in the act of

   destroying it. In the process, they conducted a warrantless search of the premises. The

   warrantless entry of law enforcement onto Smith’s property and search was therefore

   illegal.

13. Under the Fourth Amendment “no Warrants shall issue, but upon probable cause…”

   The warrant and affidavit “must provide the magistrate with a substantial basis for

   determining the existence of probable cause…” Illinois v. Gates, 462 U.S. 213, 239

   (1983). Probable cause exists “’when the totality of the circumstances allows a

   conclusion that there is a fair probability of finding contraband or evidence at a

   particular location.’” United States v. Williams, 162 Fed.Appx. 884 (11th Cir. 2006)

   quoting United States v. Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999). The

   Affidavit submitted by Ofc. Boger contained information that was directly obtained

   from the illegal search of Smith’s premises. Evidence seized based on a search

   warrant that was obtained using information from an unlawful search should be

   excluded from evidence. Wong Sun v. United States, 371 U.S. 471, 487-488. (1963).

   Likewise, evidence seize from Smith’s premises based on the Search Warrant must be

   excluded.




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14. Furthermore, the warrants were also overly-broad and non-particularized as it sought

   the search for and seizure of The Fourth Amendment to the United States Constitution

   and requires that a search warrant particularly describe the article or articles to be

   seized. A description in a search warrant is sufficient and particular when “it enables

   the searcher to reasonably ascertain and identify the things authorized to be seized”

   and prevents “general, exploratory rummaging in a person’s belongings.” United

   States v. Wuagneux, 683 F.2d 1343, 1348-1349 (11th Cir. 1982). A search warrant is

   overbroad and unconstitutional when it fails to “sufficiently particularize” the place to

   be searched or “the things to be seized.” United States v. Travers, 233 F.3d 1327, 1329

   (11th Cir.1985). In this case, the warrant’s so overbroad and non-particularized that

   law enforcement conducted a general exploratory rummage through the items at the

   location. Here, because the warrants failed to provide any specific guidelines for

   identifying and separating items sought from those outside the scope, the warrants

   encouraged a wholesale seizure of items- a constitutional violation. Therefore, all

   evidence, and any derivative evidence, should be suppressed from evidence at trial.

16. It is well known that the presence of both custody and interrogation (be it words or

   actions) creates compulsion and the only way to combat that compulsion is to give the

   Miranda warnings AND obtain a valid waiver. Miranda v. Arizona, 384 U.S. 436

   (1966). Additionally, a defendant must knowingly and voluntarily give up his

   constitutional right to remain silent. Oregon v. Elstad, 470 U.S. 298, 309 (1985)

   (emphasis added). Agent Minton compelled Smith to give several statements after his

   arrest. Movant’s statements were not freely and voluntarily given; thus, his statements

   should be suppressed.



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       WHEREFORE, Smith respectfully requests:

              1). That this Court grant an evidentiary hearing and suppress the improperly

                  obtained evidence against him in this case;

              2). That this Court conduct a hearing pursuant to Jackson v. Denno and suppress

                  improperly obtained statements against him.

       This 26th day of January 2022.

                                    Respectfully submitted,


                                    /S/ Bruce Harvey____________________
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UNITED STATES OF AMERICA,                    )
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                                             )
RAPHAEL SAMUEL SMITH, et. al.                )
    Defendant.                               )

                                CERTIFICATE OF SERVICE

       I certify that I served a copy of the foregoing Defendant’s Preliminary Motion To

Suppress Warrant and Other Evidence on opposing counsel by facsimile transmission, electronic

delivery, by hand delivery, or by depositing a copy of the same in the United States Mail with

sufficient postage thereon, addressed as follows:

                                    Frank Pennington, AUSA
                                    22 Barnard St., Suite 300
                                    Savannah, Georgia 31401

       This 26th day of January 2022.


                                     Respectfully submitted,


                                     /S/ Bruce Harvey____________________
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